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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA


                                                                         Federal Case No.:0:16-cv-62610
                                                                         State Case No.: CACE-16-016813 (05)

 A&M GERBER CHIROPRACTIC, LLC,
 a/a/o Conor Carruthers, on behalf of itself
 and all others similarly situated,

          Plaintiff,

 v.

 GEICO GENERAL INSURANCE
 COMPANY,

       Defendant.
 _______________________________/

                                                   NOTICE OF REMOVAL

          Defendant, GEICO GENERAL INSURANCE COMPANY (GEICO), pursuant to the

 Class Action Fairness Act ("CAFA"), 28 U.S.C. § 1332(d) and 28 U.S.C. § 1453, as well as 28

 U.S.C. §§ 1441 and 1446, hereby removes to this Court the state court action described below

 from the Seventeenth Judicial Circuit in and for Broward County, Florida to the United States

 District Court of the Southern District of Florida with full reservation of all defenses and states:

          I.         Introduction

          1.         The Plaintiff, A&M GERBER CHIROPRACTIC, LLC, (GERBER) filed suit on

 September 9, 2016, in the Circuit Court of the Seventeenth Judicial Circuit in and for Broward

 County, Florida, styled A&M Gerber Chiropropractic, LLC a/a/o Conor Carruthers, on behalf

 of itself and all others similarly situated, v. GEICO General Insurance Company, bearing Case

 No.: CACE 16-16813. (See, Exhibit 1). Service of initial process occurred on October 4, 2016.

 (See, Exhibit 2). Thus, this Notice of Removal is timely filed in accordance with 28 U.S.C.

 §1446.


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        2.         GERBER alleges it is a Florida Limited Liability Company and it provided

 medical services and supplies to GEICO’s insured, Conor Carruthers. GERBER alleges, by way

 of assignment, it submitted certain medical bills to GEICO for payment and GEICO did not pay

 the bills as submitted.

        3.         Specifically, GERBER asserts some of its bills were adjusted using “explanation

 code BA,” and whenever that code was utilized, GERBER’s bills were paid but in a reduced

 amount. GERBER asserts the amount which should have been paid is the billed amount and

 further asserts GEICO’s policy of motor vehicle insurance requires payment of the billed

 amount.

        4.         GERBER alleges GEICO’s practice is improper, widespread and therefore

 deserving of class action status. GERBER brings a “class action for declaratory relief” (Count I)

 and seeks:

                  A finding that this action satisfies the prerequisites for maintenance as a class
                   action set forth in Florida Rule of Civil Procedure 1.220(b)(2);

                  An Order designating Plaintiff as representative of the Class and its counsel as
                   Class counsel;

                  An Order requiring Defendant provide notice to all Class Members regarding the
                   rulings, findings, declarations in this matter and their legal rights with respect to
                   GEICO’s improper interpretation of the Policy;

                  A declaration that Defendant’s Policy requires payment of 100% of the billed
                   charges for all charges submitted under the Policy that are below the fee schedule
                   amount;

                  A declaration that Defendant’s conduct constitutes a breach of the insurance
                   Policy; and

                  Attorney’s Fees and Costs.

        5.         The trial Court has granted an extension of time to GEICO in which to file its

 response to the Complaint up through and including November 14, 2016. (See, Exhibit 3).


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        II.        Jurisdiction

        6.         The Complaint identifies GERBER as the sole Plaintiff. GERBER is a Florida

 Limited Liability Company domiciled in the State of Florida. Its principle business address is

 6860 Bruce Court, Lake Worth, Palm Beach County, Florida 33463.

        7.         The Complaint identifies GEICO as the sole defendant. GEICO is domiciled in

 the State of Maryland.

                              A. This Court Has Jurisdiction Over This Action Under CAFA

        8.         As such, this action is removable to this Court, and this Court has jurisdiction

 over this action, under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332, 28 U.S.C. §

 1441(a) and (b), and 28 U.S.C. § 1453, because this is a putative class action with more than 100

 putative class members that are seeking to recover in excess of $5,000,000 in the aggregate, and

 there is minimal diversity.

        9.         Plaintiff filed this putative class action on behalf of a class defined as follows:

        All health care providers who submitted claims for no-fault benefits under PIP
        policies to which Endorsement FLPIP (01-13), and any subsequent policies with
        substantially similar language that were in effect since January 1, 2013, (the
        “Class Period”), where GEICO utilized the Code BA with respect to the payment
        of any claim.

 See, Exhibit 1, Plaintiff’s Class Action Complaint, paragraph 21.

        10.        The Complaint seeks to certify a class under Rule 1.220 of the Florida Rules of

 Civil Procedure, which is the Florida equivalent to Rule 23 of the Federal Rules of Civil

 Procedure. (See, Exhibit 1, Plaintiff’s Complaint, paragraphs 21 thru 29).

        11.        CAFA reflects Congress’s intent to have federal courts adjudicate substantial

 class action suits brought against out-of-state defendants. Toward that end, CAFA expressly

 provides that class actions filed in state court are removable to federal court. CAFA expands

 federal jurisdiction over class actions by amending 28 U.S.C. § 1332 to grant original
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 jurisdiction where the putative class contains at least 100 class members; and any member of the

 putative class is a citizen of a State different from that of any defendant; and the amount in

 controversy exceeds $5,000,000 in the aggregate for the entire class, exclusive of interest and

 costs. 28 U.S.C. § 1332(d).

         12.       This suit satisfies all the requirements under CAFA for federal jurisdiction: (1) the

 putative class exceeds 100; (2) some of the members of the proposed class have a different

 citizenship from GEICO; (3) the amount in controversy exceeds $5,000,000; and (4) the

 exceptions to CAFA do not apply here. See 28 U.S.C. § 1332(d).

                              B. The Putative Class Size Exceeds 100

         13.       CAFA requires that the class consist of at least 100 persons. 28 U.S.C. §

 1332(d)(5). That requirement is clearly met here. While Plaintiff does not identify the number of

 putative class members, a review of GEICO's records indicates that there are likely more than

 100 individual policy holders or omnibus insureds (insureds) implicated by the putative class and

 the requested relief. (See, Exhibit 4, Affidavit of David Antonacci). Accordingly, it is clear that

 there will be in excess of 100 class members implicated in the class asserted by the Plaintiff in

 this Action.

                              C. There Is Minimal Diversity Sufficient to Establish CAFA
                                 Jurisdiction

         14.       The second CAFA requirement is at least minimal diversity—at least one putative

 class member must be a citizen of different state than one defendant. 28 U.S.C. § 1332(d)(2).

         15.       Specifically, Plaintiff was domiciled in the state of Florida at the time the state

 court action was commenced and still is a domiciliary of the state of Florida as of the date of

 filing this Notice. Further, the plaintiff is a citizen of the state of Florida, and of the United States

 of America.

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        16.        Defendant is a foreign corporation, with its principal place of business in the State

 of Maryland at the time the state court action was commenced and still is a foreign corporation

 as of the date of filing this notice. Further, for purposes of this notice, the defendant is a citizen

 of the State of Maryland

        17.        Thus, there is diversity here, as the Plaintiff is a citizen of Florida and GEICO is a

 citizen of Maryland. Thus, this prerequisite of CAFA is met. 28 U.S.C. § 1332(d)(2).

                              D. The CAFA Amount in Controversy Requirement of $5,000,000 Is
                                 Met

        18.        CAFA also requires that the aggregate amount in controversy exceed $5,000,000

 for the entire putative class in the aggregate, exclusive of interest and costs. 28 U.S.C. §

 1332(d)(2).

        19.        As the United States Supreme Court has held, GEICO's notice of removal "need

 include only a plausible allegation that the amount in controversy exceeds the jurisdictional

 threshold." Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).

 "Evidence establishing the amount is required by §1446(c)(2)(B) only when the plaintiff

 contests, or the court questions, the defendant's allegation." Id.1



 1 To support CAFA jurisdiction, it must be "more likely than not" that the amount in controversy
 exceeds the jurisdictional requirement. Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 752
 (11th Cir. 2010); see also South Florida Wellness, Inc. v. Allstate Ins. Co., 745 F.3d 1312, 1315
 (11th Cir. 2014). To meet that burden, a removing party can provide "specific factual allegations
 establishing jurisdiction and can support them (if challenged by the plaintiff or the court) with
 evidence combined with reasonable deductions, reasonable inferences, or other reasonable
 extrapolations . . . . [A] removing defendant is not required to prove the amount in controversy
 beyond all doubt or to banish all uncertainty about it. " Pretka, 608 F.3d at 754. In meeting this
 burden, the removing party may present "affidavits, declarations, or other documentation." Id. at
 755 (citations omitted); see also Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 949 (11th Cir.
 2000) (the district court may "require parties to submit summary- judgment-type evidence
 relevant to the amount in controversy at the time of removal") (citations omitted); Fowler v.
 Safeco Ins. Co. of Am., 915 F.2d 616, 617 (11th Cir. 1990) ("Defendants have the opportunity to
 submit affidavits, depositions, or other evidence to support removal").
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        20.        Here, based upon Plaintiff’s allegations and theories (which GEICO disputes, but

 which control for removal purposes), GEICO plausibly alleges that the $5,000,000 CAFA

 amount in controversy requirement is satisfied. (See, Exhibit 4 - 1,000,000 claims at $11.84 per

 claim results in a potential value of $11,840,000).

                              E. The exceptions to CAFA Do Not Apply Here

        21.        CAFA provides two mandatory exceptions to the application of federal

 jurisdiction (both of which the Eleventh Circuit has labeled the "local controversy exception"),

 and one discretionary exception. 28 U.S.C. § 1332(d)(3)-(4); see also Evans v. Walter Indus.,

 Inc., 449 F.3d 1159, 1163 (11th Cir. 2006) (discussing the “local controversy exception”);

 Gavron v. Weather ShieldMfg., No. 10-22088, 2010 WL 3835115, at *2-3 (S.D. Fla. Sept. 29,

 2010). The burden of establishing the exceptions to CAFA rests not on Progressive, but rather on

 Plaintiff as the non-removing party. Evans, 449 F.3d at 1164 ("[W]hen a party seeks to avail

 itself of an express statutory exception to federal jurisdiction granted under CAFA, as in this

 case, we hold that the party seeking remand bears the burden of proof with regard to that

 exception.").

        22.        In this case it is clear that none of these exceptions can apply, and Plaintiff could

 not possibly meet its burden of establishing any exception. Each of the CAFA exceptions

 requires, as a starting point, an in-state defendant. 28 U.S.C. § 1332(d)(3)-(4) (requiring either

 "significant relief" to be sought from an in-state defendant or requiring the "primary defendant"

 to be an in-state one). Here, the sole defendant is GEICO, which is a non-Florida insurance

 company. As such, none of the CAFA exceptions can possibly apply here.




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                              F. This Action is Properly Removed

        23.        Accordingly, because the CAFA prerequisites are met and none of the exceptions

 applies, this case is properly removable under CAFA.

        24.        The undersigned state that this removal is well-grounded in fact, warranted by

 existing law, and not interposed for any improper purpose.

        WHEREFORE, GEICO prays that this Court will consider this Notice of Removal as

 provided by law governing the removal of cases to this Court; that this Court will make the

 proper orders to achieve the removal of the State Court Action to this Court; and that this Court

 will make such other orders as may be appropriate to effect the preparation and filing of a true

 record in this cause of all proceedings that may have been had in the State Court Action.

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                                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this November 3, 2016, a true and correct copy of the

 foregoing was served, via electronic mail, upon the persons on the attached service list.

                                                     /s Peter D. Weinstein, Esq.
                                                     Attorney for Defendant


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